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 Attorney for Petitioner

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,                       Case No. 2:25-cv-01963
                                        (MEF)(MAH)
        Petitioner,
                                        CERTIFICATION OF SIDRA
  v.                                    MAHFOOZ IN SUPPORT OF
                                        APPLICATION FOR ADMISSION
  WILLIAM JOYCE ET AL.,                 PRO HAC VICE PURSUANT TO
                                        LOCAL CIVIL RULE 101.1
        Respondent.




       I, Sidra Mahfooz, hereby certify the following:

       1.    I am an attorney at the American Civil Liberties Union Foundation

 (“ACLU”). I have been requested to represent Petitioner in this matter.
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       2.    I am a member in good standing of the New York State bar as of

 2020. A certificate of good standing issued by the New York State Appellate

 Division, Second Department, is attached herein.

    3. I am also admitted to practice before the following courts:



        Court                          Year of           Attorney Rolls Maintained
                                       Admission         By:
        New York State Appellate       2019              Supreme Court, State of New
        Division, Second                                 York Appellate Division,
        Department                                       Second Department
                                                         45 Monroe Place Brooklyn,
                                                         NY 11201
        U.S. Court of Appeals for      2013              Elbert P. Tuttle Courthouse
        the Eleventh Circuit                             56 Forsyth Street, N.W.
                                                         Atlanta, GA 30303
        U.S. District Court for the    2019              The U.S. District Court for
        District of Columbia                             the District of Columbia
                                                         333 Constitution Avenue
                                                         N.W. Washington D.C.
                                                         20001
        U.S. District Court for the                      Phillip Burton Federal
        Northern District of                             Building
        California                                       & United States Courthouse
                                                         450 Golden Gate Avenue
                                                         San Francisco, CA 94102


       4.    No professional disciplinary proceedings are pending against me in

 any jurisdiction and no professional discipline has previously been imposed on

 me in any jurisdiction.

       5.    In the event I am admitted pro hac vice, I agree to:
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            a. Make payment to the New Jersey Lawyer’s Fund for Client

               Protection as provided by New Jersey Court Rule 1:28-2(a) for each

               year in which I represent Petitioner in this matter;

            b. Abide by the Rules of this Court, including any relevant disciplinary

               rules;

            c. Notify this Court immediately of any matters affecting my standing

               at the Bar of any other Court; and

            d. Have all pleadings, briefs, and other papers filed with the Court

               signed by an attorney of record authorized to practice in the United

               States District Court for the District of New Jersey.

       6.      In view of the foregoing, I respectfully request that I be admitted

 pro hac vice.

 Pursuant to 28 U.S.C. § 1746, I affirm under penalty of perjury that the above

 statements are true and correct.


  Dated: March 21, 2025                             Respectfully Submitted,
                                                    /s/Sidra Mahfooz
                                                    Sidra Mahfooz
                                                    American Civil Liberties
                                                    Union Foundation
                                                    125 Broad St., 18th Fl.,
                                                    New York, NY 10004
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